Case 1:14-cr-00068-LGS   Document 394-4   Filed 11/07/22   Page 1 of 6




                  EXHIBIT 4
    Case
      Case
         1:14-cr-00068-LGS
            1:14-cr-00068-LGS Document
                               Document394-4
                                        273 Filed
                                              Filed06/03/15
                                                    11/07/22 Page
                                                               Page
                                                                  1 of2 5of 6
        Case 1:14-cr-00068-KBF Document 262-1 Filed 05/28/15 Page 1 of 5


                                                             USDC SD'.'Y
UNITED STATES DISTRICT COURT                                 DOCUMENT
SOUTHERN DISTRICT OF NEW YORK                                ELECTRONICALLY FILED
                                                             DOC#:
                                           x                 DATE F-IL_E_DJ-..UmN,......,,...0_3_2-01-5

UNITED STATES OF AMERICA

              - v. -                                 PRELIMINARY ORDER OF
                                                     FORFEITURE/MONEY JUDGMENT
ROSS WILLIAM ULBRICHT,
  a/k/a "Dread Pirate Roberts,"                      Sl 14 Cr.        68    (KBF)
  a/k/a "DPR,"
  a/k/a "Silk Road,"

              Defendant.

                                           x



              WHEREAS, on or about August 21, 2014, ROSS WILLIAM

ULBRICHT, a/k/a "Dread Pirate Roberts," a/k/a "DPR," a/k/a "Silk

Road"   (the ''defendant"), was charged in a seven-count

Superseding Indictment, Sl 14 Cr.              68   ( KBF)   (the "Indictment") ,

with distributing controlled substances in violation of Title

21, United States Code, Sections 812, 841(a) (1), and

841 (b) ( 1) (A)   (Count One); distributing controlled substances by

means of the Internet in violation of Title 21, United States

Cede, Sections 812, 841 (h), and 841 (b) (1) (A)                (Count Two);

conspiracy to distribute controlled substances in violation of

Title 21, United States Code, Section 846 (Count Three);

engaging in a continuing criminal enterprise in violation of

Title 21, United States Code, Section 848(a)                    (Count Four);


                                       1
    Case
      Case
         1:14-cr-00068-LGS
            1:14-cr-00068-LGS Document
                               Document394-4
                                        273 Filed
                                              Filed06/03/15
                                                    11/07/22 Page
                                                               Page
                                                                  2 of3 5of 6
        Case 1:14-cr-00068-KBF Document 262-1   Filed 05/28/15   Page 2 of 5




conspiring to commit and aid and abet computer hacking in

violation of Title 18, United States Code, Section 1030(b)

(Count Five); conspiring to traffic in fraudulent identification

documents in violation of Title 18, United States Code, Section

102 8 ( f)   (Count Six) ; and conspiring to commit money laundering

in violation of Title 18, United States Code, Section 1956(h)

(Count Seven);

              WHEREAS, the Indictment included a forfeiture

allegation, seeking forfeiture to the United States, pursuant to

Title 21, United States Code, Section 853, of any and all

property constituting or derived from any proceeds obtained

directly or indirectly as a result of, and any and all property

used or intended to be used in any manner or part to commit or

to facilitate the commission of, one or more of the offenses

alleged in Counts One through Four of the Indictment;

              WHEREAS, the Indictment included a forfeiture

allegation, seeking forfeiture to the United States, pursuant to

Title 18, United States Code, Section 982 (a) (2) (B), of any

property constituting, or derived from, proceeds obtained

directly or indirectly as a result of one or more of the

offenses alleged in Counts Five and Six of the Indictment;

              WHEREAS, the Indictment included a forfeiture

allegation, seeking forfeiture to the United States pursuant to

Title 18, United States Code, Section 982(a) (1), any property,


                                       2
   Case
     Case
        1:14-cr-00068-LGS
           1:14-cr-00068-LGS Document
                              Document394-4
                                       273 Filed
                                             Filed06/03/15
                                                   11/07/22 Page
                                                              Page
                                                                 3 of4 5of 6
        Case 1:14-cr-00068-KBF Document 262-1   Filed 05/28/15   Page 3 of 5




real or personal, involved in the offense alleged in Count Seven

of the Indictment, or any property traceable to such property;

             WHEREAS, on or about February 4, 2015 the defendant

was found guilty following a jury trial before the Honorable

Katherine B. Forrest on each and every count of the Indictment;

             NOW, THEREFORE,   IT IS ORDERED, ADJUDGED AND DECREED

THAT:

             1.   As a result of the offenses charged in Counts One

through Seven of the Indictment, to which the defendant was

found guilty, a money judgment in the amount of $183,961,921 in

United States currency (the "Money Judgment") shall be entered

against the defendant,      representing (a) proceeds obtained as a

result of, and property used or intended to be used in any

manner or part to commit or to facilitate the commission of, one

or more of the offenses alleged in Counts One through Four of

the Indictment;     (b) proceeds obtained directly or indirectly as

a result of the offenses alleged in Counts Five and Six of the

Indictment; and (c) property involved in the offense alleged in

Count Seven of the Indictment, or property traceable to such

property.

            2.    Pursuant to Rule 32. 2 (b) ( 4) of the Federal Rules

of Criminal Procedure, upon entry of this Preliminary Order of

Forfeiture/Money Judgment, this Preliminary Order of

Forfeiture/Money Judgment is final as to the defendant, ROSS


                                      3
   Case
     Case
        1:14-cr-00068-LGS
           1:14-cr-00068-LGS Document
                              Document394-4
                                       273 Filed
                                             Filed06/03/15
                                                   11/07/22 Page
                                                              Page
                                                                 4 of5 5of 6
      Case 1:14-cr-00068-KBF Document 262-1    Filed 05/28/15 Page 4 of 5




WILLIAM ULBRICHT, a/k/a "Dread Pirate Roberts," a/k/a "DPR,"

a/k/a ''Silk Road," and shall be deemed part of the sentence of

the defendant, and shall be included in the judgment of

conviction therewith.

           3.    All payments on the outstanding Money Judgment

shall be made by postal money order, bank or certified check,

made payable, in this instance, to the United States Marshals

Service, and delivered by mail to the United States Attorney's

Office, Southern District of New York, Attn: Money Laundering

and Asset Forfeiture Unit, One St. Andrew's Plaza, New York, New

York 10007, and shall indicate the defendant's name and case

number.

           4.    Upon execution of this Preliminary Order of

Forfeiture/Money Judgment, and pursuant to Title 21, United

States Code, Section 853, the United States Marshals Service (or

its designee)   shall be authorized to deposit all payments on the

Money Judgment in the Assets Forfeiture Fund, and the United

States shall have clear title to such forfeited property.

           5.    The Court shall retain jurisdiction to enforce

this Preliminary Order of Forfeiture/Money Judgment, and to

amend it as necessary, pursuant to Rule 32.2 of the Federal

Rules of Criminal Procedure.

           6.    Pursuant to Rule 32. 2 (b) ( 3) of the Federal Rules

of Criminal Procedure, upon entry of this Preliminary Order of


                                      4
   Case
     Case
        1:14-cr-00068-LGS
           1:14-cr-00068-LGS Document
                              Document394-4
                                       273 Filed
                                             Filed06/03/15
                                                   11/07/22 Page
                                                              Page
                                                                 5 of6 5of 6
         Case 1:14-cr-00068-KBF Document 262-1   Filed 05/28/15 Page 5 of 5




Forfeiture/Money Judgment, the United States Attorney's Office is

authorized to conduct any discovery needed to identify, locate

or dispose of forfeitable property, including depositions,

interrogatories, requests for production of documents and the

issuance of subpoenas, pursuant to Rule 45 of the Federal Rules

of Civil Procedure.

              7.   The Clerk of the Court shall forward three

certified copies of this Preliminary Order of Forfeiture/Money

Judgment to Assistant United States Attorney Jason H. Cowley,

Chief of the Money Laundering and Asset Forfeiture Unit, One St.

Andrew's Plaza, New York, New York, 10007.

Dated:             New York, New York
                   ~
                                         ~
                   s~ ~        Z,,6{ 5
                           I
                                         SO ORDERED.;

                                             ??Y.~
                                         HONORABLE KATHERINE B. FORREST
                                         UNITED STATES DISTRICT JUDGE




                                         5
